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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

     CIVIL MINUTES - GENERAL
     Case No.      5:19-cv-1311-SVW-KK                                           Date        March 25, 2020
 Title
                  Hayley Charmaine Tice v. Amazon.com, Inc. et al.




 Present: The Honorable          STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                       Paul M. Cruz                                                N/A
                       Deputy Clerk                                      Court Reporter / Recorder
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             N/A                                                       N/A
 Proceedings:                 ORDER GRANTING MOTION TO COMPEL ARBITRATION [43]

        Hayley Tice (“Plaintiff”) brings this action against Amazon.com, Inc. (“Amazon”) and s2z
Development Center, Inc. (together “Defendants”) under the California Information Privacy Act
(“CIPA”) Cal. Penal Code §§ 630 et seq., California competition law, and state tort law. Plaintiff also
brings her claims as a putative class-action for all persons in California who have been recorded by
Amazon’s “Alexa” device, a smart home hub and digital assistant, but never agreed to have their
conversations recorded. Defendants have moved to compel arbitration and dismiss the complaint. For
the reasons provided below, the motion to compel arbitration is GRANTED in part and DENIED in part.
The motion to dismiss is DENIED.

I.       Factual Background

       Plaintiff’s claims stem from her husband’s purchase of an Alexa Echo Dot device. Use of the
Alexa requires an agreement to Alexa’s Terms of Use (“TOU”), which contain an Arbitration Clause
(“Arbitration Clause”). Amazon also requires all of its users to agree to Amazon’s general Conditions of
Use (“COU”), which also include an arbitration provision. The Alexa TOU’s Arbitration Clause
incorporate Amazon’s COU and arbitration clause. Dkt. 43-1 at 20–21. Plaintiff claims that, although
her husband consented to his voice being recorded by agreeing to the Alexa TOU, Plaintiff did not.
Although Plaintiff’s husband undisputedly agreed to the Arbitration Clause in the Alexa TOU, Plaintiff
never did. Plaintiff does not deny that she is an Amazon user, and has therefore agreed to Amazon’s
general COU, but she claims she never agreed to the terms of the Alexa TOU, which are specific to a
customer’s use of Alexa. Plaintiff alleges three scenarios wherein Alexa allegedly recorded her




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conversations in violation of CIPA § 631, the “wiretapping” provision, and various other California
laws.

               1.     Intentional Use
       Plaintiff admits that on some occasions, she intentionally uses Alexa to access Amazon services.
During those uses, Plaintiff claims Amazon recorded her voice without her consent.

               2.       Background Recording
       Plaintiff also alleges that when another person in her household uses Alexa, her private
conversations are recorded in the background without her knowledge and consent.

                 3.     Surreptitious Recording
        Finally, Plaintiff alleges that Alexa sporadically records conversations without prompting and
without permission from anyone in the household. Plaintiff claims “Alexa is constantly listening to
voices and conversations and sometimes records these conversations even without prompting by a wake
word and the persons in the household have no way of knowing that Alexa is recording them.” Dkt. 1 at
4. Plaintiff alleges Amazon makes these recordings intentionally to collect data on its customers.
Because each of these three factual circumstances presents distinct legal issues, they are analyzed
separately below.

II.      Analysis

         A.      The Arbitration Clause and Federal Arbitration Act

         The Federal Arbitration Act (“FAA”) provides that written arbitration agreements in contracts
“evidencing a transaction involving commerce . . . shall be valid, irrevocable, and enforceable, save
upon such grounds as exist at law or in equity for the revocation of any contract.” AT&T Mobility LLC v.
Concepcion, 563 U.S. 333, 339 (2011) (quoting 9 U.S.C. § 2). In cases governed by the FAA, the
district court may properly consider a challenge to “the contract as a whole, either on a ground that
directly affects the entire agreement (e.g., the agreement was fraudulently induced), or on the ground
that the illegality of one of the contract's provisions renders the whole contract invalid.” Buckeye Check
Cashing, Inc. v. Cardegna, 546 U.S. 440, 444 (2006). “The court’s role under the FAA is . . . limited to
determining (1) whether a valid agreement to arbitrate exists and, if it does, (2) whether the agreement
encompasses the dispute at issue.” Chartwell Staffing Servs. Inc. v. Atl. Sols. Grp. Inc., No.




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819CV00642JLSJDE, 2020 WL 620294, at *2 (C.D. Cal. Jan. 9, 2020) (quoting Chiron Corp. v. Ortho
Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000)). It is the burden of the party seeking to
compel arbitration, here Defendants, to satisfy these elements. Ashbey v. Archstone Property Mgmt.,
Inc., 785 F.3d 1320, 1323 (9th Cir. 2015).

         As threshold matter, Plaintiff claims that no contract was ever formed between herself and
Amazon regarding the Alexa. Even when an agreement would be governed by the FAA, “‘state
law’ . . .is applicable to determine which contracts are binding under § 2 and enforceable under § 3 ‘if
that law arose to govern issues concerning the validity, revocability, and enforceability of contracts
generally.’” Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630–31 (2009) (quoting Perry v. Thomas,
482 U.S. 483, 493, n. 9 (1987)). California state law determines if a contract was formed. See Hofer v.
Emley, No. 19-CV-02205-JSC, 2019 WL 4575389, at *5 (N.D. Cal. Sept. 20, 2019) (citing Arthur
Andersen, 556 U.S. at 630-31). Even if a contract was formed, “[s]tate contract law controls whether
parties agreed to arbitrate.” Knutson v. Sirius XM Radio, Inc., 771 F.3d 559, 565 (9th Cir. 2014). The
party seeking to compel arbitration bears the initial burden of showing an arbitration clause exists.
Hofer, 2019 WL 4575389, at *4 (citing Bridge Fund Capital Corp. v. Fastbucks Franchise Corp., 622
F.3d 996, 1005 (9th Cir. 2010)). Here, Amazon has provided the Alexa TOU and Amazon general COU,
both of which appear to contain facially valid arbitration clauses. Finally, state law determines if a
nonsignatory can be held to an arbitration agreement under equitable principles. Murphy v. DirecTV,
Inc., 724 F.3d 1218, 1229 (9th Cir. 2013).

         B.      Plaintiff’s Intentional Use of Alexa

        Under CIPA § 631, parties “who willfully and without the consent of all parties to the
communication” record private conversation may be liable for criminal and civil penalties. CIPA § 631.
Plaintiff also brings state law claims regarding the storage and usage of the recording of her voice after
she has intentionally used Alexa. Plaintiff admits that she voluntarily uses Alexa for its intended
purpose. Dkt. 1 at 8. Defendants argue that the use of Plaintiff’s voice when she has voluntarily engaged
Alexa is directly related to the Alexa TOU, which contains the relevant Arbitration Clause. Because
Plaintiff receives the direct benefit of the use of Alexa, Defendants argue that she should be equitably
estopped from avoiding the Arbitration Clause of the Alexa TOU.

       “[A]s a matter of federal law, any doubts concerning the scope of arbitrable issues should be
resolved in favor of arbitration, whether the problem at hand is the construction of the contract language




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itself or an allegation of waiver, delay, or a like defense to arbitrability.” Kramer v. Toyota Motor Corp.,
705 F.3d 1122, 1126 (9th Cir. 2013) (internal quotation marks omitted). “However, the liberal federal
policy favoring arbitration does not apply to the question of ‘whether a particular party is bound by the
arbitration agreement.’” Hofer, 2019 WL 4575389, at *1 (quoting Rajagopalan v. Noteworld, LLC, 718
F.3d 844, 847 (9th Cir. 2013)). To determine if a nonsignatory party is bound to an arbitration
agreement, federal courts sitting in diversity jurisdiction should look to state law. Id. at 5.

    In California, “nonsignatories of arbitration agreements may be bound by the agreement under
ordinary contract and agency principles. Among these principles are 1) incorporation by reference; 2)
assumption; 3) agency; 4) veil-piercing/alter ego; and 5) estoppel.” Comer v. Micor, Inc., 436 F.3d 1098,
1101 (9th Cir. 2006). As a nonsignatory individual without any formal agency relationship to either
Amazon or her signatory husband, the only principle applicable to Plaintiff is estoppel. “Equitable
estoppel precludes a party from claiming the benefits of a contract while simultaneously attempting to
avoid the burdens that contract imposes.” Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042, 1045 (9th
Cir. 2009) (internal quotation marks omitted). Under California law:

         “The California cases binding nonsignatories to arbitrate their claims fall into two
         categories. In some cases, a nonsignatory was required to arbitrate a claim because a
         benefit was conferred on the nonsignatory as a result of the contract, making the
         nonsignatory a third party beneficiary of the arbitration agreement. In other cases, the
         nonsignatory was bound to arbitrate the dispute because a preexisting relationship existed
         between the nonsignatory and one of the parties to the arbitration agreement, making it
         equitable to compel the nonsignatory to also be bound to arbitrate his or her claim.

Cty. of Contra Costa v. Kaiser Found. Health Plan, Inc., 54 Cal. Rptr. 2d 628, 631 (1996) (“Contra
Costa”). There are several preexisting “relationship[s] recognized under the law that create agency,
[including] the ‘spousal relationship, parent-child relationship and the relationship of a general partner to
a limited partnership.’” Brown, No. EDCV1600264ABSPX, 2016 WL 9109112, at *3 (quoting Crowley
Mar. Corp. v. Boston Colony Ins. Co., 158 Cal. App. 4th 1061, 1069 (2008)).

       When such a relationship exists, “[a]pellate courts have stated that arbitration agreements are
enforced with regularity against nonsignatories.” Contra Costa, 54 Cal. Rptr. 2d at 631. Generally, “a
preexisting relationship between the nonsignatory and one of the parties to the arbitration agreement is a
common factor in these cases.” Id. In California, a spousal relationship is the type of preexisting




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relationship that can make “it equitable to compel the nonsignatory to also be bound to arbitrate . . . her
claim.” Id.; see Brown, 2016 WL 9109112, at *4 (“These are all relationship types that carry significant
recognition in our society and require certain steps before creation of the relationship.”); In re Toyota
Motor Corp. Hybrid Brake Mktg., Sales, Practices & Prod. Liab. Litig., 828 F. Supp. 2d 1150, 1160
(C.D. Cal. 2011) (“a nonsignatory may be bound to an arbitration agreement where (i) there is a close
relationship between the entities involved”); Matthau v. Superior Court, 60 Cal. Rptr. 3d 93, 98 (2007)
(“The ‘preexisting relationship’—such as spouses and children in medical malpractice claims—supports
the implied authority of the party to bind the nonsignatory.”).

        Considering Plaintiff’s allegations and the relevant caselaw, the Court finds that the preexisting
spousal relationship in this case prevents Plaintiff from avoiding the terms of the Alexa TOU. Just as her
husband would be bound to arbitrate claims relating to his voluntary use of Alexa, Plaintiff must adhere
to the Alexa TOU for claims directly related to her voluntary usage. Plaintiff is therefore equitably
estopped from avoiding the Arbitration Clause when she voluntarily utilizes Alexa. Defendants’ motion
to compel arbitration is therefore GRANTED with regard to Plaintiff’s voluntary use of Alexa.

         C.      Background Recording of Plaintiff

        Plaintiff also alleges that her private conversations are recorded in the background when other
people in her household, such as her husband, voluntarily engage Alexa. Unlike the circumstance where
Plaintiff voluntarily engages Alexa, in this circumstance it is not clear that any party has agreed to have
their background conversations recorded. Applying the principles of equitable estopped explained
above, it seems clear that Plaintiff would be bound to the same terms as her husband. The operative
question then is whether this claim is within the scope of the Arbitration Clause.

       Plaintiff argues that her claims fall outside the scope of the Arbitration Clause, and the arbitrator
should not be allowed to determine scope of the provision. The Supreme Court has held that the FAA
“requires courts to enforce [arbitration agreements] according to their terms,” Rent-A-Ctr., W., Inc. v.
Jackson, 561 U.S. 63, 67 (2010). An arbitrator’s ability to decide their own authority to arbitrate the
dispute is a gateway issue, sometimes called “threshold arbitrability.” Henry Schein, Inc. v. Archer &
White Sales, Inc., 139 S. Ct. 524, 524 (2019). The Court should defer to an arbitrator’s decision on
threshold arbitrability when there is “clear and unmistakable” evidence in the contract that the parties
intended to allow the arbitrator to decide arbitrability. Id. at 530. As mentioned above, the Alexa Clause
incorporates Amazon’s COU, which in turn incorporate the rules of the American Association of




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Arbitrators (“AAA”). Dkt. 43-1 at 20–21. The Ninth Circuit has held that “incorporation of the AAA
Rules constitutes clear and unmistakable evidence that contracting parties agreed to arbitrate
arbitrability.” Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015). The Court finds that the
Alexa TOU require the arbitrator to determine whether Plaintiff’s second claim, the background
recording of Plaintiff’s conversation when a third-party activates Alexa in her house, is encompassed by
the Arbitration Clause. Defendants’ motion to compel arbitration is GRANTED regarding background
recording during Plaintiff’s family’s intentional use of Alexa.

         D.       Surreptitious Recording

        Finally, incorporating the analysis above, Plaintiff’s last claim cannot be equitably compelled
into arbitration. Unlike her family actively using Alexa for its intended purpose, neither Plaintiff nor her
family ever agreed to unanticipated surreptitious recording of their private conversations. In this factual
circumstance, the Alexa device allegedly picks up conversations without any connection to the intended
and advertised use of Alexa, but to be used by Amazon for commercial gain. Accepted as true, this
allegation raises a free-standing, potentially criminal, CIPA violation that has no basis in any agreement
with Amazon.

        Although enforced through civil remedies, Plaintiff’s surreptitious recording claim is criminal in
nature—far outside the bounds of both the Alexa TOU and Amazon COU. Through discovery, Plaintiff
will need to show that this surreptitious recording actually occurs, but, taken as true, this claim cannot
equitably be compelled into arbitration. A contract that allowed Amazon to compel every possible claim,
even criminal acts or those completely unrelated to the contract, into arbitration would be
unconscionable as a matter of law.1 See Kilgore v. KeyBank, Nat. Ass'n, 718 F.3d 1052, 1059 (9th Cir.
2013) (“‘Procedural unconscionability focuses on the factors of surprise and oppression’”) (quoting
Harper v. Ultimo, 7 Cal. Rptr. 3d 418, 421–22 (2003)); In re Toyota, 828 F. Supp. 2d at 1157–58
(“While procedural unconscionability focuses on the element of ‘oppression or surprise due to unequal
bargaining power,’ substantive unconscionability centers on an ‘overly harsh, or one-sided’ results.’”)
(quoting Armendariz v. Found. Health Psychcare Servs., Inc., 6 P.3d 669 (Cal. 2000)).

1The issue of unconscionability is briefly mentioned by both parties in the pleadings but has not been fully briefed before this
Court. Plaintiff may argue an unconscionability defense to the arbitrator on the claims which have been compelled to
arbitration, but, since she is not bound by the Alexa TOU or Amazon COU as to her last claim, there is no need to argue
unconscionability before this Court.




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        As such, Plaintiff’s claim that Alexa surreptitiously records her voice without prompting has no
basis in any agreement made by her or her husband and cannot be compelled into arbitration. The only
question is whether Plaintiff has alleged sufficient facts to plausibly state a claim for relief under
California law. Accepting the pleaded facts as true, the Court concludes Plaintiff has plausibly stated a
claim. The issue of whether Alexa actually surreptitiously records its users is better determined on
summary judgment. The Motion to Dismiss and Compel Arbitration is therefore DENIED with regard to
Plaintiff’s claim for unprompted surreptitious recording.

III.     Conclusion

       In accordance with the Order above, the motion to compel arbitration is GRANTED in part and
DENIED in part, and Defendants’ motion to dismiss is DENIED. The deadline for Plaintiff to file a
motion for class certification remains July 7, 2020 as previously scheduled.

         IT IS SO ORDERED




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